                 Case 24-20138              Doc 81       Filed 06/12/24 Entered 06/12/24 13:33:55                            Desc Main
 Fill in this information to identify your case:           Document     Page 1 of 1
 Debtor 1       BOTW Holdings, LLC

 United States Bankruptcy Court for the:                                     District of   Delaware
                                                                                           (State of)
 Case Number (if known):       24-20138                                        Chapter     11                                         Check if this is an
                                                                                                                                      amended filing

 Official Form 206H
 SCHEDULE H - CODEBTORS                                                                                                                            12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
 consecutively. Attach the Additional Page to this page.


  1. Do you have any codebtors?
       No Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in
     the schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the
     creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a
     debt to more than one creditor, list each creditor separately in Column 2.
         Column 1: Codebtor                                                    Column 2: Creditor                                  Check all schedules
                                                                                                                                   that apply:
         Name and Mailing Address                                              Name
         BEST OF THE WEST PRODUCTIONS, LLC                                     JOHN MCCALL                                            D
2.1      115 W YELLOWSTONE AVE
         CODY, WY 82414                                                                                                               E/F

                                                                                                                                      G


         CHRISTINE MICHALETZ                                                   CHRYSLER CAPITAL                                       D
2.2      THE CHRISTINE E MICHALETZ REVOCABLE LIVING TRUST
         DTD 9/13/2017                                                                                                                E/F
         1301 STAMPEDE AVE #2312
         CODY, WY 82414                                                                                                               G


         CHRISTINE MICHALETZ                                                   FIRST BANK OF WYOMING                                  D
2.3      THE CHRISTINE E MICHALETZ REVOCABLE LIVING TRUST
         DTD 9/13/2017                                                                                                                E/F
         1301 STAMPEDE AVE #2312
         CODY, WY 82414                                                                                                               G


         HUSKEMAW OPTICS, LLC                                                  JOHN MCCALL                                            D
2.4      115 W YELLOWSTONE AVE
         CODY, WY 82414                                                                                                               E/F

                                                                                                                                      G


         JOE MICHALETZ                                                         FIRST BANK OF WYOMING                                  D
2.5      THE JOESPH G MICHALETZ REVOCABLE LIVING TRUST
         DTD 9/13/2017                                                                                                                E/F
         1301 STAMPEDE AVE #2312
         CODY, WY 82414                                                                                                               G




Official Form 206H                                          Schedule H: Codebtors                                                    Page 1 of 1
